Case 4:19-cv-00366-ALM-CAN Document 211 Filed 01/11/21 Page 1 of 1 PageID #: 1911




                                United States District Court
                                       EASTERN DISTRICT OF TEXAS
                                           SHERMAN DIVISION

    VANDAMME V. JEANTY                                 §
                                                       §   Civil Action No. 4:19-CV-366
    v.                                                 §   (Judge Mazzant/Judge Nowak)
                                                       §
    TXFM, INC., ET AL.                                 §

                     MEMORANDUM ADOPTING REPORT AND
              RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

           Came on for consideration the report of the United States Magistrate Judge in this action,

    this matter having been heretofore referred to the Magistrate Judge pursuant to 28 U.S.C. § 636.

    On November 24, 2020, the report of the Magistrate Judge (Dkt. #204) was entered containing

    proposed findings of fact and recommendations that Plaintiff VanDamme V. Jeanty’s Amended

    Motion for Sanctions (Dkt. #172) be denied. Plaintiff received electronic notice of the report

    (Dkts. #24 at p. 3; #26 at p. 1); see also docket generally.

           Having received the report of the United States Magistrate Judge, and no objections thereto

    having been timely filed, the Court is of the opinion that the findings and conclusions of the

    Magistrate Judge are correct and adopts the Magistrate Judge’s report as the findings and

.   conclusions of the Court.

           It is therefore ORDERED that Plaintiff VanDamme V. Jeanty’s Amended Motion for

    Sanctions (Dkt. #172) is DENIED.

           IT IS SO ORDERED.
           SIGNED this 11th day of January, 2021.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE
